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 DATA SHEET

 XARELTO® (rivaroxaban)

 NAME OF THE MEDICINE

 Xarelto (rivaroxaban) is a selective, direct acting Factor Xa inhibitor.

 Rivaroxaban is 5-Chloro-N-({(5S)-2-oxo-3-[4-(3-oxo-4-morpholinyl)phenyl]-1,3-oxazolidin-5-
 yl}methyl)-2-thiophene-carboxamide. The empirical formula is C19H18ClN3O5S, molecular weight
 is 435.89 g / mole and CAS number is 366789-02-8.

 Rivaroxaban has the following structural formula:

                         O

                             O     H
 O       N              N
                                   N
                             (S)                  Cl
         O                                    S
                                       O

 DESCRIPTION
 Rivaroxaban is an odourless, non-hygroscopic white to yellowish powder. Rivaroxaban is
 practically insoluble in water and aqueous media in the pH range 1 to 9. An amount of
 approximately 5 - 7 mg/L rivaroxaban is pH-independently soluble in aqueous media at 25 ºC.
 Rivaroxaban is only slightly soluble in organic solvents (e.g. acetone, polyethylene glycol 400).
 Each film-coated tablet contains 10 mg, or 15 mg or 20 mg of rivaroxaban.
 In addition, each Xarelto tablet contains:
 Tablet core: Microcrystalline cellulose, croscarmellose sodium, lactose, hypromellose, sodium
 lauryl sulfate, magnesium stearate.
 Filmcoat: Macrogol 3350, hypromellose, titanium dioxide, iron oxide red.

 INDICATIONS
 Xarelto is indicated for

 x     Prevention of venous thromboembolism (VTE) in adult patients undergoing elective hip or
       knee replacement surgery.
 x     Prevention of stroke and systemic embolism in adult patients with non-valvular atrial
       fibrillation with one or more risk factors, such as congestive heart failure, hypertension,
       DJH\HDUVGLDEHWHV mellitus, prior stroke or transient ischaemic attack.
 x     Treatment of deep vein thrombosis (DVT) and pulmonary embolism (PE) and for the
       prevention of recurrent DVT and pulmonary embolism (see the PRECAUTIONS for
       haemodynamically unstable PE patients).




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 CONTRAINDICATIONS
 Xarelto is contraindicated in patients:

 x     who are hypersensitive to the active substance or to any of the excipients,
 x     with clinically significant active bleeding (e.g. intracranial bleeding, gastrointestinal
       bleeding),
 x     with lesions at increased risk of clinically significant bleeding and patients with
       spontaneous impairment of haemostasis,
 x     with significant hepatic disease (including moderate to severe hepatic impairment, i.e.
       Child-Pugh B and C) especially when it is associated with coagulopathy leading to a
       clinically relevant bleeding risk (see PRECAUTIONS and Pharmacokinetic properties),
 x     undergoing dialysis or patients with severe renal impairment with a creatinine clearance <
       30 mL/min for Xarelto 15 mg and 20 mg tablets, (CrCl < 15 mL/min for Xarelto 10 mg)
       due to increased plasma levels which may lead to an increased risk of bleeding (see
       Pharmacokinetic properties and PRECAUTIONS),
 x     concomitantly treated with strong inhibitors of both CYP 3A4 and P-glycoprotein such as
       HIV protease inhibitors (e.g. ritonavir) or systemically administered azole anti-mycotics
       (e.g. ketoconazole) (see Interactions with Other Medicines)
 x     who are pregnant (see Use in Pregnancy)
 x     who are breast-feeding (see Use in Lactation)

 PRECAUTIONS

 Haemorrhagic risk
 Like other anticoagulants, Xarelto increases the risk of bleeding and can cause serious or fatal
 bleeding. In deciding whether to prescribe Xarelto to patients at increased risk of bleeding, the
 risk of thrombotic events should be weighed against the risk of bleeding. Due to the
 pharmacological mode of action, Xarelto may be associated with an increased risk of occult or
 overt bleeding which may result in post haemorrhagic anaemia (see ADVERSE EFFECTS).
 The signs, symptoms, and severity (including possible fatal outcome) will vary according to the
 location and degree or extent of the bleeding and/or anaemia. The risk of bleeding may be
 increased in certain patient groups e.g. patients with uncontrolled severe arterial hypertension
 and/or taking concomitant medications affecting haemostasis.
 Haemorrhagic complications may present as weakness, paleness, dizziness, headache or
 unexplained swelling, dyspnoea, and unexplained shock. In some cases as a consequence of
 anaemia, symptoms of cardiac ischaemia like chest pain or angina pectoris have been
 observed. Several sub-groups of patients as detailed below are at increased risk of bleeding.
 These patients are to be carefully monitored for signs of bleeding complications after initiation
 of treatment. Any unexplained fall in haemoglobin or blood pressure should lead to a search for
 a bleeding site.
 Patients at high risk          of   bleeding   should   not    be   prescribed      Xarelto    (see
 CONTRAINDICATIONS).
 Close clinical surveillance is recommended in the presence of multiple risk factors for bleeding
 including pharmacokinetic factors (renal impairment, hepatic impairment, drug interactions),
 pharmacodynamic interactions (NSAIDs, platelet aggregation inhibitors), and general
 haemorrhagic risk factors (see below).




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 General haemorrhagic risk factors
 Xarelto like other antithrombotics should be used with caution in patients with an increased
 bleeding risk such as:

 x       congenital or acquired bleeding disorders
 x       uncontrolled severe arterial hypertension
 x       active ulcerative gastrointestinal disease
 x       recent gastrointestinal ulcerations
 x       vascular retinopathy
 x       recent intracranial or intracerebral haemorrhage
 x       intraspinal or intracerebral vascular abnormalities
 x       shortly after brain, spinal or ophthalmological surgery
 x       concomitant use of medicines affecting haemostasis
 x       bronchiectasis or history of pulmonary bleeding
 For patients at risk of ulcerative gastrointestinal disease an appropriate prophylactic treatment
 may be considered.
 Other risk factors
 Renal impairment
 Xarelto is to be used with caution in patients with moderate renal impairment (creatinine
 clearance 30 - 49 mL/min) receiving co-medications (including moderate inhibitors of CYP3A4
 or P-gp) leading to increased rivaroxaban plasma concentrations (see Interactions with Other
 Medicines). In patients with severe renal impairment (creatinine clearance < 30 mL/min)
 rivaroxaban plasma levels may be significantly increased, which may lead to an increased
 bleeding risk. Due to the underlying disease these patients are also at an increased risk of both
 bleeding and thrombosis. Due to limited clinical data Xarelto 10 mg should be used with caution
 in patients with CrCl 15 - 29 mL/min. Xarelto 15 mg and 20 mg should not be used in patients
 with CrCl < 30 mL/min. Patients on dialysis have not been studied, Xarelto should not be used
 in this population (see sections DOSAGE AND ADMINISTRATION, PHARMACOLOGY and
 CONTRAINDICATIONS).
 No clinical data are available for patients with creatinine clearance less than 15 mL/min.
 Therefore use of Xarelto is contraindicated in these patients (see CONTRAINDICATIONS).
 Hepatic impairment
 Xarelto is contraindicated in patients with significant hepatic disease (including moderate to
 severe hepatic impairment, i.e. Child-Pugh B and C) which is associated with coagulopathy
 leading to a clinically relevant bleeding risk. Limited clinical data in patients with moderate
 hepatic impairment (Child-Pugh B) indicate a significant increase in the pharmacological
 activity. Xarelto may be used in cirrhotic patients with moderate hepatic (Child-Pugh B)
 impairment if it is not associated with coagulopathy (see PHARMACOLOGY and
 CONTRAINDICATIONS).
 Strong CYP 3A4 and P-gp inhibitors
 Xarelto is contraindicated in patients receiving concomitant systemic treatment with azole-
 antimycotics (e.g. ketoconazole) or HIV protease inhibitors (e.g. ritonavir). These active
 substances are strong inhibitors of both CYP 3A4 and P-gp and therefore may increase



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 rivaroxaban plasma concentrations to a clinically relevant degree (2.6-fold on average) which
 may lead to an increased bleeding risk (see CONTRAINDICATIONS, Interactions with Other
 Medicines and Table 1). However, fluconazole, a less potent CYP3A4 and P-gp inhibitor has
 less effect on rivaroxaban and may be co-administered (see Interactions with Other Medicines
 and Table 1).
 Non-steroidal anti-inflammatory drugs
 Care should be taken if patients are treated concomitantly with non-steroidal anti-inflammatory
 drugs (NSAIDs) as these drugs may impact haemostasis (see Interaction with Other
 Medicines).
 Anticoagulants
 Co administration of Xarelto with other anticoagulants has not been studied in clinical trials and
 is not recommended, as it may lead to an increased bleeding risk (see Interaction with Other
 Medicines).
 Platelet aggregation inhibitors
 Care should be taken if patients are treated concomitantly with platelet aggregation inhibitors
 (e.g. clopidogrel and acetylsalicylic acid) as it may lead to an increased bleeding risk (see
 Interaction with Other Medicines). For patients on antiplatelet therapy, a careful individual risk
 benefit assessment should be performed regarding the additional bleeding risk versus the
 thrombotic risk associated with the underlying diseases.
 Management of bleeding
 Should bleeding occur, management of the haemorrhage may include the following steps:

 x     Identify and treat the underlying cause of the bleeding

 x     Where no source of bleeding can be identified, delay of next rivaroxaban administration
       or discontinuation of treatment as appropriate. Rivaroxaban has a terminal half-life
       between 5 and 13 hours (see Pharmacokinetic properties) Management should be
       individualised according to the severity and location of the haemorrhage. A specific agent
       to reverse the anti-coagulant effect of rivaroxaban is not yet available. Because of high
       plasma protein binding, rivaroxaban is not expected to be dialysable. Protamine sulfate
       and vitamin K are not expected to affect the anticoagulant activity of rivaroxaban.

 x     Appropriate symptomatic treatment, e.g. mechanical compression, surgical interventions,
       fluid replacement and haemodynamic support, blood product (packed red cells or fresh
       frozen plasma, depending on associated anaemia or coagulopathy) or platelets.
 If life threatening bleeding cannot be controlled by the above measures, administration of one
 of the following procoagulants may be considered:

 x     activated prothrombin complex concentrate (APCC)

 x     prothrombin complex concentrate (PCC)

 x     recombinant factor VIIa.
 While there is currently no experience with the use of these products in individuals receiving
 Xarelto, all three procoagulants have demonstrated significant reductions in rivaroxaban-
 induced bleeding time prolongation in nonclinical studies.




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 There is no experience with antifibrinolytic agents (tranexamic acid, aminocaproic acid) in
 individuals receiving Xarelto. There is neither scientific rationale for benefit nor experience with
 the systemic haemostatics desmopressin and aprotinin in individuals receiving Xarelto.
 Surgery and interventions
 If an invasive procedure or surgical intervention is required, based on clinical judgement of the
 physician, Xarelto should be stopped at least 24 hours before the intervention if possible.
 Individual patient factors will need to be taken into account in the decision as to how long
 Xarelto should be stopped prior to surgery. Consider longer duration of treatment cessation
 based on benefit/risk with patients at higher risk of bleeding or in cases of major surgery where
 complete haemostasis may be required.
 A specific agent to reverse the anti-coagulant effect of rivaroxaban is not yet available. If the
 procedure cannot be delayed the increased risk of bleeding should be assessed against the
 urgency of the intervention.
 Xarelto should be restarted as soon as possible after the invasive procedure or surgical
 intervention provided the clinical situation allows and adequate haemostasis has been
 established (see Metabolism and Elimination).
 Patients with prosthetic valves
 Safety and efficacy of Xarelto has not been studied in patients with prosthetic heart valves.
 Therefore, there are no data to support that Xarelto 20 mg (15 mg in patients with moderate
 renal impairment) provides adequate anti-coagulation in this patient population.
 Spinal / epidural anaesthesia or puncture
 When neuraxial anaesthesia (spinal / epidural anaesthesia) or spinal /epidural puncture is
 performed, patients treated with antithrombotic agents for prevention of thromboembolic
 complications are at risk of developing an epidural or spinal haematoma which can result in
 long-term or permanent paralysis. The risk of these events may be increased by the use of
 indwelling epidural catheters or the concomitant use of medicinal products affecting
 haemostasis. The risk may also be increased by traumatic or repeated epidural or spinal
 puncture.
 Patients should be frequently monitored for signs and symptoms of neurological impairment
 (e.g. numbness or weakness of the legs, bowel or bladder dysfunction). If neurological
 compromise is noted, urgent diagnosis and treatment is necessary. Prior to neuraxial
 intervention, the physician should consider the potential benefit versus the risk in
 anticoagulated patients or in patients to be anticoagulated for thromboprophylaxis.
 There is no clinical experience with the use of 15 mg and 20 mg rivaroxaban in these situations.

 To reduce the potential risk of bleeding associated with the concurrent use of rivaroxaban and
 neuraxial (epidural/spinal) anaesthesia or spinal puncture, consider the pharmacokinetic profile
 of rivaroxaban. Placement or removal of an epidural catheter or lumbar puncture is best
 performed when the anticoagulant effect of rivaroxaban is estimated to be low (see
 Pharmacokinetic properties). For 15 mg and 20 mg rivaroxaban, the exact timing to reach a
 sufficiently low anticoagulant effect in each patient is not known.

 For 10 mg rivaroxaban, an epidural catheter is not to be removed earlier than 18 hours after the
 last administration of Xarelto. For 15 mg and 20 mg rivaroxaban, based on general PK
 characteristics, an epidural catheter should not be removed until at least 2x half-life has
 elapsed (i.e. at least 18 hours in young patients and 26 hours in elderly patients) after the last
 administration of Xarelto (see Pharmacokinetic properties).



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 The next Xarelto dose is to be administered not earlier than 6 hours after the removal of the
 catheter.
 If traumatic puncture occurs the administration of Xarelto is to be delayed for 24 hours.
 Hip fracture surgery
 Xarelto has not been studied in interventional clinical trials in patients undergoing hip fracture
 surgery to evaluate efficacy and safety in these patients.

 DVT and PE treatment: Haemodynamically unstable PE patients or patients who require
 thrombolysis or pulmonary embolectomy
 Xarelto is not recommended as an alternative to unfractionated heparin in patients with
 pulmonary embolism who are haemodynamically unstable or may receive thrombolysis or
 pulmonary embolectomy since the safety and efficacy of Xarelto have not been established in
 these clinical situations.
 Lactose intolerance
 Xarelto contains lactose. Patients with rare hereditary problems of lactose or galactose
 intolerance, the Lapp lactase deficiency or glucose-galactose malabsorption should not take
 Xarelto.
 Information for the Patient
 A Consumer Medicine Information leaflet is available. Please advise your patient to read this
 information carefully.
 Effects on Fertility
 Rivaroxaban did not affect male or female fertility at oral doses up to 200 mg/kg/day in Wistar
 rats, which corresponds to 33-fold (males) and 49-fold (females) the unbound rivaroxaban AUC
 in humans at the maximum recommended dose.
 Use in Pregnancy
 Pregnancy Category C
 There are no data from the use of rivaroxaban in pregnant women. Thrombolytic agents can
 produce placental haemorrhage and subsequent prematurity and fetal loss.
 Studies in rats and rabbits were affected by the anticoagulant effects of rivaroxaban on the
 mother. In rats, altered placental appearance and necrosis were observed DW GRVHV  
 mg/kg/day (4 times human exposure based on unbound plasma AUC). A NOAEL (No
 Observed Adverse Effect Level) in rats for embryofetal development was established at 35
 mg/kg/day (17 times human exposure based on unbound plasma AUC).
 In rabbits, DERUWLRQV RFFXUUHG DW GRVHV   PJNJGD\  WLPHV KXPDQ H[SRVXUH EDVHG RQ
 XQERXQG SODVPD $8&  ZKLOH GHDWKV RFFXUUHG DW GRVHV   PJNJGD\  WLPHV KXPDQ
 exposure based on unbound plasma AUC). Changes in placental appearance (course, grained
 and/or QHFURWLF ZHUHDOVRQRWHGDWGRVHVPJNJGD\$12$(/LQUDEELWVIRUHPEU\RIHWDO
 development was established at 2.5 mg/kg/day (3 times human exposure based on unbound
 plasma AUC). In rats and rabbits rivaroxaban showed pronounced maternal toxicity with
 placental changes related to its pharmacological mode of action (e.g., hemorrhagic
 complications). No primary teratogenic potential was identified. Data from animals showed a
 pronounced maternal toxicity of rivaroxaban related to its pharmacological mode of action (e.g.
 hemorrhagic complications) leading to reproductive toxicity. Due to the intrinsic risk of bleeding



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 and the evidence that rivaroxaban passes the placenta, Xarelto is contraindicated in pregnancy
 (see CONTRAINDICATIONS). Xarelto should be used in women of childbearing potential only
 with effective contraception.
 Use in Lactation
 No data on the use of rivaroxaban in nursing mothers are available. Data from animals indicate
 that rivaroxaban is secreted into milk. Therefore Xarelto is contraindicated during breast-
 feeding (see CONTRAINDICATIONS).
 [14C] rivaroxaban was administered orally to lactating Wistar rats (day 8 to 10 post partum) as a
 single oral dose of 3 mg/kg body weight. [14C] rivaroxaban-related radioactivity was secreted
 into the milk of lactating rats only to a low extent in relation to the administered dose. The
 estimated amount of radioactivity excreted into milk was 2.12 % of the maternal dose within
 32 hours after administration.
 Paediatric Use
 Xarelto is not recommended for use in children or adolescents below 18 years of age due to a
 lack of data on safety and efficacy (see DOSAGE AND ADMINISTRATION and
 Pharmacokinetic properties).
 Use in Elderly
 No dose adjustment is required for the elderly (> 65 years of age). It should be taken into
 consideration that increasing age may be associated with declining renal and hepatic function
 (see CONTRAINDICATIONS, PRECAUTIONS and Pharmacokinetic properties).
 Different Gender and Different Weight Categories
 No dose adjustment is required for these patient populations (see Pharmacokinetic properties).
 Carcinogenicity
 Testing was performed by oral dosing for 2 years at up to 60 mg/kg/day reaching unbound
 plasma rivaroxaban exposure levels similar to humans (mice) or up to 3.6-fold higher (rats) than
 in humans.
 Rivaroxaban showed no carcinogenic potential in rats and mice.
 Genotoxicity
 Rivaroxaban showed no genotoxicity potential in bacterial mutagenicity tests, chromosomal
 aberration assays in Chinese hamster cells or in an in vivo mouse micronucleus assay.
 Effect on Laboratory Tests
 Xarelto at recommended doses prolongs the global clotting tests prothrombin time (PT),
 activated partial thromboplastin time (aPTT), HepTest®, as well as the specific clotting test, anti-
 Factor Xa activity. PT is influenced by Xarelto in a dose-dependent manner if Neoplastin® is
 used for the assay. The 5/95 percentiles of PT (Neoplastin®) 2 to 4 hours after tablet intake (i.e.
 at the time of maximum effect) is described in Table 1 (see Pharmacodynamic effects). In case
 of excessive doses, the PT is expected to be outside of this range. Although aPTT, anti-Factor
 Xa activity and HepTest® are also prolonged dose-dependently, none of these reliably
 assesses the pharmacodynamic effects of Xarelto.
 During any conversion period when warfarin and Xarelto are overlapped, the pharmacodynamic
 effects of Xarelto can be tested with the anti-Factor Xa activity, PiCT (Prothrombinase-induced
 Clotting Time), and HepTest® assays, as these tests were not affected by warfarin. Four days



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 after cessation of warfarin and onwards, all tests (including PT, aPTT, anti-Factor Xa activity
 and ETP) only reflected the effect of Xarelto (see DOSAGE AND ADMINISTRATION and
 Pharmacodynamic properties).
 The INR is not valid to measure the anticoagulant activity of Xarelto, and therefore should not
 be used. If measurement of rivaroxaban exposure is required in special clinical situations (such
 as suspected overdose, or emergency settings), both prothrombin time and chromogenic anti-
 Factor Xa assays using validated rivaroxaban calibrators and controls have the potential to
 assess rivaroxaban plasma concentrations gravimetrically (ng/mL or μg/L). The
 pharmacokinetic profile of rivaroxaban has to be taken into account when interpreting results of
 these tests.
 Effects on ability to drive and use machines
 Syncope and dizziness have been reported and may affect the ability to drive and use
 machines (see ADVERSE EFFECTS). Patients experiencing these adverse reactions should
 not drive or use machines.

 Interactions with Other Medicines
 Pharmacokinetic interactions
 Rivaroxaban is cleared mainly via cytochrome P450-mediated (CYP 3A4, CYP 2J2) hepatic
 metabolism and renal excretion of the unchanged drug, involving the P-glycoprotein (P-gp) /
 breast cancer resistance protein (Bcrp) transporter systems.

 CYP Inhibition
 Rivaroxaban does not inhibit CYP 3A4 or any other major CYP isoforms.
 CYP Induction
 Rivaroxaban does not induce CYP 3A4 or any other major CYP isoforms.
 Effects on rivaroxaban
 x     Strong inhibitors of both CYP3A4 and P-gp

 The concomitant use of Xarelto with substances that strongly inhibit both CYP 3A4 and P-gp
 may lead to reduced hepatic and renal clearance and thus significantly increased systemic
 exposure of rivaroxaban.
 Co-administration of Xarelto with the azole-antimycotic ketoconazole (400 mg od), a strong
 CYP 3A4 and P-gp inhibitor, led to a 2.6-fold increase in mean rivaroxaban steady state AUC
 and a 1.7-fold increase in mean rivaroxaban Cmax, with significant increases in its pharmacody-
 namic effects.
 Co-administration of Xarelto with the HIV protease inhibitor ritonavir (600 mg bid), a strong
 CYP 3A4 and P-gp inhibitor, led to a 2.5-fold increase in mean rivaroxaban AUC and a 1.6-fold
 increase in mean rivaroxaban Cmax, with significant increases in its pharmacodynamic effects.
 Therefore Xarelto is contraindicated in patients receiving concomitant systemic treatment with
 azole-antimycotics or HIV-protease inhibitors (see CONTRAINDICATIONS). However,
 fluconazole (400 mg once daily) considered a less potent CYP3A4 and P-gp inhibitor led to an
 increase in rivaroxaban AUC and Cmax within the magnitude of normal variability (see
 PRECAUTIONS, Table 1 and Table 2 below)
 x   Strong inhibitors of CYP3A4 or P-gp




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 Drugs strongly inhibiting only one of the rivaroxaban elimination pathways, either CYP 3A4 or
 P-gp, increase rivaroxaban plasma concentrations to a level which is considered not clinically
 relevant (see Table 2 below)
 Patients with renal impairment taking P-gp and weak to moderate CYP3A4 inhibitors may have
 significant increases in exposure, which may increase bleeding risk.
 Xarelto is to be used with caution in patients with moderate renal impairment (creatinine
 clearance 30 - 49 mL/min) receiving co-medications (including moderate inhibitors of CYP3A4
 or P-gp) leading to increased rivaroxaban plasma concentrations (1.6 fold on average) (see
 PRECAUTIONS).
 x      CYP3A4 inducers
 The concomitant use of rivaroxaban with strong CYP3A4 inducers (e.g. rifampicin, phenytoin,
 carbamazepine, phenobarbital or St. John’s Wort) may lead to reduced rivaroxaban plasma
 concentrations. Caution should be taken when Xarelto 15 and 20 mg tablets are co-
 administered with strong CYP3A4 inducers (see Table 1 below).
 Table 1: Established or potential interactions which are clinically relevant

     Class (effect)                     Effect          on   Clinical comment
     Examples                           rivaroxaban
                                        plasma
                                        concentration
     Strong CYP3A4 and strong P-gp      Ń rivaroxaban        Concomitant treatment with systemic azole-
     inhibitor                                               antimycotics or HIV-protease inhibitors is
     Azole-antimycotics                                      contraindicated.
     e.g. ketoconazole, itraconazole,
     voriconazole, posaconazole
      or HIV-protease inhibitors e.g.
     ritonavir

 Table 2: Established or potential interactions which are not clinically relevant

     Class (effect)                     Effect          on   Clinical comment
     Examples                           rivaroxaban
                                        plasma
                                        concentration
     CYP3A4 and P-gp inhibitor          Ń rivaroxaban        Fluconazole (400 mg once daily), considered as
     Fluconazole                        1.4-fold AUC         moderate CYP 3A4 inhibitor. The increase is
                                                             within the magnitude of the normal variability of
                                        1.3-fold Cmax        AUC and Cmax and is considered not clinically
                                                             relevant.
     Strong CYP 3A4 and moderate        Ń rivaroxaban        The increase with 500 mg bid is close to the
     P-gp inhibitor                     1.5-fold AUC         magnitude of the normal variability of AUC and
     Clarithromycin                                          Cmax, is considered to be not clinically relevant.
                                        1.4-fold Cmax

     Moderate     CYP3A4         and    Ń rivaroxaban        The increase with 500 mg tid is within the
     moderate P-gp inhibitor            1.3-fold AUC         magnitude of the normal variability of AUC and
     Erythromycin                                            Cmax and is considered not clinically relevant.
                                        1.3-fold Cmax
     Other P-gp inhibitors              Ń rivaroxaban        Theoretically, due to the inhibition of P-gp
     Cyclosporine, Amiodarone,                               mediated      renal     excretion,     concomitant
                                                             administration with Xarelto may lead to
     Quinidine, Diltiazem,
                                                             increased plasma rivaroxaban to a level which
     Verapamil                                               is considered not clinically relevant.




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   Class (effect)                      Effect          on   Clinical comment
   Examples                            rivaroxaban
                                       plasma
                                       concentration
   Strong CYP       3A4   and   P-gp   Ņrivaroxaban        Led to an approximate 50 % decrease in mean
   inducer                                                  rivaroxaban AUC, with parallel decreases in its
   Rifampicin                                               pharmacodynamic effects. The decrease in
                                                            rivaroxaban plasma concentration is considered
                                                            not clinically relevant.
   Other CYP 3A4 inducers              Ņrivaroxaban        Concomitant use with Xarelto may lead to a
   Anticonvulsants e.g. Phenytoin,                          decreased plasma rivaroxaban concentration.
   Carbamazepine, Phenobarbitone
   or
   St John’s Wort




  Pharmacodynamic interactions
  Anticoagulants
  Enoxaparin
  After combined administration of enoxaparin (40 mg single dose) with rivaroxaban (10 mg
  single dose), an additive effect on anti-Factor Xa activity was observed without any additional
  effects on clotting tests (PT, aPTT). Enoxaparin did not affect the pharmacokinetics of
  rivaroxaban. Co administration of Xarelto with other anticoagulant therapy has not been studied
  in clinical trials and is not recommended, as it may lead to an increased bleeding risk (see
  PRECAUTIONS).
  Warfarin
  Converting patients from warfarin (INR 2.0 to 3.0) to Xarelto 20 mg or from Xarelto 20 mg to
  warfarin (INR 2.0 to 3.0) increased prothrombin time/INR (Neoplastin®) more than additively
  (individual INR values up to 12 may be observed), whereas effects on aPTT, inhibition of Factor
  Xa activity and endogenous thrombin potential were additive. It should be noted that the
  anticoagulant effect of rivaroxaban does not correlate to INR values and therefore INR should
  not be used.
  If it is desired to test the pharmacodynamic effects of Xarelto during the conversion period, anti-
  Factor Xa activity, PiCT, and HepTest can be used as these tests were not affected by warfarin.
  From day 4 after stopping warfarin onwards, all tests (including PT, aPTT, inhibition of Factor
  Xa activity and ETP) reflected only the effect of Xarelto (see DOSAGE AND
  ADMINISTRATION).
  If it is desired to test the pharmacodynamic effects of warfarin during the conversion period,
  INR measurement can be used at the Ctrough of rivaroxaban (24 hours after the previous intake
  of rivaroxaban) as this test is minimally affected by rivaroxaban at this time point.
  No pharmacokinetic interaction was observed between warfarin and Xarelto.
  Non-steroidal anti-inflammatory drugs
  Bleeding time was prolonged after co-administration of naproxen (500 mg) and rivaroxaban
  (mean 11.3 minutes) as compared to naproxen (500 mg) alone (7.9 minutes) and rivaroxaban
  alone (6.1 minutes, normal range of bleeding time: 2 to 8 minutes). In the three Phase III trials



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  (RECORD 1, 2, and 3) more than 70 % of subjects received concomitant NSAIDs with a similar
  risk of bleeding as compared to comparator treatment. However, due to the general impact on
  haemostasis, care should be taken if anticoagulated patients are treated concomitantly with
  NSAIDs (see PRECAUTIONS).
  No clinically relevant prolongation of bleeding time was observed after concomitant
  administration of Xarelto (15 mg) and 500 mg naproxen. Nevertheless there may be individuals
  with more pronounced pharmacodynamic response (see PRECAUTIONS).
  Platelet aggregation inhibitors
  Clopidogrel (300 mg loading dose followed by 75 mg maintenance dose) did not show a
  pharmacokinetic interaction (with Xarelto 15 mg). Bleeding time was prolonged after co-
  administration of clopidogrel and rivaroxaban (mean 21.7 minutes) as compared to clopidogrel
  alone (12.7 minutes) and rivaroxaban alone (7.7 minutes, normal range of bleeding time: 2 to 8
  minutes). This increase in the combined treatment group was driven by a subset of patients in
  whom pronounced prolongations of bleeding times were observed. These prolongations of
  bleeding time did not correlate to platelet aggregation, P-selectin or GPIIb/IIIa receptor levels.
  For patients on antiplatelet therapy, a careful individual risk benefit assessment should be
  performed regarding the additional bleeding risk versus the thrombotic risk associated with the
  underlying diseases. (see PRECAUTIONS).
  Selective Serotonin Reuptake Inhibitors (SSRI)
  A biological effect of SSRIs on platelet function is reported in the medical literature as well as
  an increased bleeding risk when SSRIs are used concomitantly with antiplatelet therapies. For
  rivaroxaban, no clinical evidence was observed. As with other anticoagulants the possibility
  may exist that patients are at increased risk of bleeding in case of concomitant use with SSRIs.
  Food and dairy products
  Xarelto 10 mg can be taken with or without food (see Pharmacokinetic properties).
  Xarelto 15 mg and 20 mg tablets should be taken with food (see Pharmacokinetic properties).
  Interactions shown not to exist
  There were no mutual pharmacokinetic interactions between rivaroxaban and midazolam (sub-
  strate of CYP 3A4), digoxin (substrate of P-gp) or atorvastatin (substrate of CYP 3A4 and P-
  gp).
  Co-administration of the H2 receptor antagonist ranitidine, the antacid aluminium hydroxide /
  magnesium hydroxide, naproxen, clopidogrel or enoxaparin did not affect rivaroxaban bio-
  availability and pharmacokinetics.
  No clinically significant pharmacokinetic or pharmacodynamic interactions were observed when
  rivaroxaban was co-administered with 500 mg acetylsalicylic acid (see PRECAUTIONS).
  ADVERSE EFFECTS
  The safety of rivaroxaban has been evaluated in nine Phase III studies including 18,403
  patients exposed to rivaroxaban (see Table 3).
  Table 3: Number of patients studied and treatment duration in Phase III studies
                   Indication                 Number of       Maximum daily         Maximum
                                               patients           dose              treatment
                                                                                     duration
    Prevention of venous thromboembolism         6,097             10 mg             39 days



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   (VTE) in adult patients undergoing elective
       hip or knee replacement surgery
    Treatment of DVT, PE and prevention of            4,556      Day 1-21: 30 mg          21 months
             recurrent DVT and PE                                  Day 22 and
                                                                 onwards: 20 mg
      Prevention of stroke and systemic               7,750          20 mg                41 months
     embolism in patients with non-valvular
                atrial fibrillation


  In total about 74% of patients exposed to at least one dose of rivaroxaban were reported with
  treatment emergent adverse events (regardless of causality). About 25% of patients
  experienced adverse events considered related to treatment as assessed by investigators. In
  patients treated with 10 mg Xarelto undergoing hip or knee replacement surgery, bleeding
  events occurred in approximately 6.8% of patients and anaemia occurred in approximately
  5.9% of patients. In patients treated with either 15 mg twice daily Xarelto followed by 20 mg
  once daily for treatment of DVT, or with 20 mg once daily for prevention of recurrent DVT and
  PE, bleeding events occurred in approximately 22.7% of patients and anaemia occurred in
  approximately 1.8% of patients. In patients treated for prevention of stroke and systemic
  embolism, bleeding of any type or severity was reported with an event rate of 28 per 100
  patient years, and anaemia with an event rate of 2.5 per 100 patient years.
  The frequencies of ADRs reported with Xarelto are summarised in the table below. Within each
  frequency grouping, undesirable effects are presented in order of decreasing seriousness.
  Frequencies are defined as:
  very common            1/10),
  common                 1/100 to < 1/10),
  uncommon               1/1,000 to < 1/100),
  rare                   1/10,000 to < 1/1,000)

  Table 4: All treatment-emergent adverse drug reactions reported in patients in Phase III studies
  (pooled RECORD 1-4, ROCKET, J-ROCKET, MAGELLAN, ATLAS and EINSTEIN
  DVT/PE/Extension)
  System Organ Class
                              Common                      Uncommon                 Rare
  (MedDRA)
  Blood and the lymphatic     Aneamia (incl. respective   Thrombocythemia (incl.
  system disorders            laboratory parameters)      platelet count
                                                          increased) *
  Cardiac disorders                                       Tachycardia
  Eye disorders               Eye haemorrhage (incl.
                              conjunctival hemorrhage)




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  System Organ Class
                              Common                          Uncommon                 Rare
  (MedDRA)
  Gastrointestinal            Gingival bleeding               Dry mouth
  disorders
                              Gastrointestinal tract
                              hemorrhage (incl. rectal
                              hemorrhage)
                              Gastrointestinal and
                              abdominal pains
                              Dyspepsia
                              Nausea
                              Constipation*
                              Diarrhoea
                              Vomiting *
  General disorders and       Fever *                         Feeling unwell           Localised oedema *
  administration site                                         (incl. malaise)
                              Oedema peripheral
  conditions
                              Decreased general strength
                              and energy (incl. fatigue and
                              asthenia)
  Hepato-biliary disorders                                    Hepatic function         Jaundice
                                                              abnormal
  Immune system                                               Allergic reaction
  disorders
                                                              Dermatitis allergic
  Injury, poisoning and       Postprocedural hemorrhage Wound secretion *              Vascular
  postprocedural              (incl. postoperative anaemia,                            pseudoaneurysm^
  complications               and wound haemorrhage)
                              Contusion
  Investigations              Increase in transaminases       Increase in bilirubin    Bilirubin conjugated
                                                                                       increased (with or
                                                              Increase in blood
                                                                                       without concomitant
                                                              alkaline phosphatase *
                                                                                       increase of ALT)
                                                              Increase in LDH *
                                                              Increase in lipase *
                                                              Increase in amylase *
                                                              Increase in GGT *
  Musculoskeletal,            Pain in extremity *             Haemarthrosis            Muscle haemorrhage
  connective tissue and
  bone disorders
  Nervous system              Dizziness                       Cerebral and
  disorders                                                   intracranial
                              Headache
                                                              haemorrhage
                                                              Syncope
  Renal and urinary           Urogenital tract
  disorders                   haemorrhage (incl.
                              haematuria and
                              menorrhagia #)
                              Renal impairment (incl.
                              blood creatinine increased,
                              blood urea increased) *




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  System Organ Class
                              Common                     Uncommon               Rare
  (MedDRA)
  Respiratory tract           Epistaxis
  disorders
                              Haemoptysis
  Skin and subcutaneous       Pruritus (incl. uncommon   Urticaria
  tissue disorders            cases of generalised
                              pruritus)
                              Rash
                              Ecchymosis
                              Cutaneous and
                              subcutaneous haemorrhage
  Vascular disorders          Hypotension
                              Haematoma
  *       observed after major orthopedic surgery of the lower limbs
  #       observed in VTE treatment as very common in women <55 years
  ^       observed as uncommon in prevention therapy in Acute Coronary Syndrome (ACS) (following
          percutaneous intervention)

  < ADR term representation is based on MedDRA version 14.1 >

  Known complications secondary to severe bleeding such as compartment syndrome and renal
  failure due to hypoperfusion have been reported for Xarelto. Therefore, the possibility of a
  haemorrhage is to be considered in evaluating the condition in any anticoagulated patient.
  Post-marketing observations
  The following adverse reactions have been reported post-marketing in temporal association
  with the use of Xarelto. The frequency of these adverse reactions reported from post-marketing
  experience cannot be estimated.
  Immune system disorders: Angioedema and allergic oedema

  Hepatobiliary disorders: Cholestasis, Hepatitis (including hepatocellular injury)

  Blood and lymphatic system disorders: Thrombocytopaenia

  DOSAGE AND ADMINISTRATION
  Xarelto 10 mg tablets may be taken with or without food (see Pharmacokinetic properties).
  Xarelto 15 mg tablets and Xarelto 20 mg tablets should be taken with food (see
  Pharmacokinetic properties).
  For patients who are unable to swallow whole tablets; Xarelto 10 mg, 15 mg, or 20 mg tablets
  may be crushed and mixed with water or applesauce immediately prior to use and administered
  orally. After the administration of crushed Xarelto 15 mg or 20 mg tablets, the dose should be
  immediately followed by food.
  The crushed Xarelto 10 mg, 15 mg, or 20 mg tablet may be given through gastric tubes. Gastric
  placement of the tube should be confirmed before administering Xarelto. The crushed tablet
  should be administered in a small amount of water via a gastric tube after which it should be
  flushed with water. After the administration of crushed Xarelto 15 mg or 20 mg tablets, the dose
  should be immediately followed by enteral feeding (see Pharmacokinetic properties).




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  An in vitro compatibility study indicated that there is no adsorption of rivaroxaban from a water
  suspension of a crushed XARELTO tablet to PVC or silicone nasogastric (NG) tubing.
  VTE Prevention in total hip and knee replacement

  The recommended dose of Xarelto for VTE prevention in major orthopaedic surgery of the
  lower limbs (elective total hip or knee replacement) is a 10 mg tablet taken once daily.
  The initial dose should be taken 6 - 10 hours after surgery provided that haemostasis has been
  established.
  The duration of treatment depends on the type of major orthopaedic surgery.

  x       For patients undergoing hip replacement surgery, a treatment duration of 5 weeks is
          recommended.

  x       For patients undergoing knee replacement surgery, a treatment duration of 2 weeks is
          recommended.

  Dose of 10 mg once daily and duration specified for each type of surgery is not to be exceeded.

  Stroke Prevention in Atrial Fibrillation

  The recommended dose is 20 mg once daily.
  For patients with moderate renal impairment (Creatinine clearance: 30 – 49 mL/min), one 15
  mg tablet of Xarelto should be taken once daily.
  Therapy with Xarelto should be continued long term provided the benefit of prevention of stroke
  and systemic embolism outweighs the risk of bleeding.

  Cardioversion
  Xarelto can be initiated or continued in patients who may require cardioversion.
  For TOE-guided cardioversion in patients not previously treated with anticoagulants, Xarelto
  treatment should be started at least 4 hours before cardioversion to ensure adequate
  anticoagulation (see Pharmacodynamic properties and Pharmacokinetic properties).

  Treatment of DVT and PE and prevention of recurrent DVT and PE
  The recommended dose for the initial treatment of acute DVT and PE is 15 mg Xarelto twice
  daily for the first three weeks followed by 20 mg Xarelto once daily for the continued treatment
  and the prevention of recurrent DVT and PE.
  During the initial 3 weeks of acute treatment 15 mg of Xarelto should be taken twice daily.
  After the initial 3 weeks treatment Xarelto should be continued at 20 mg once daily. Therapy
  should be continued as long as the VTE risk persists. The duration of therapy should be
  individualised after careful assessment of the treatment benefit against the risk for bleeding.
  Xarelto 15 mg tablets and Xarelto 20 mg tablets should be taken with food.

  Special Populations

  Hepatic impairment
  Xarelto is contraindicated in patients with significant hepatic disease (including moderate to
  severe hepatic impairment, i.e. Child-Pugh B and C) which is associated with coagulopathy




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  leading to a clinically relevant bleeding risk (see CONTRAINDICATIONS). No dose adjustment
  is necessary in patients with other hepatic diseases (see Pharmacokinetic properties).
  Limited clinical data in patients with moderate hepatic impairment (Child-Pugh B) indicate a
  significant increase in the pharmacological activity. No clinical data are available for patients
  with severe hepatic impairment (Child-Pugh C) (see CONTRAINDICATIONS and
  Pharmacokinetic properties).
  Renal impairment
  Prior to commencing treatment with Xarelto, an accurate assessment of renal function should
  be undertaken, especially if there is any suspicion that the person may have a degree of renal
  impairment (see Pharmacokinetic properties)

  No clinical data are available for patients with CrCl < 15 mL/min or patients on dialysis.
  Therefore, use of Xarelto is contraindicated in this patient population (see
  CONTRAINDICATIONS).
  Please refer to Table 5 below for dosing instructions for patients with renal impairment by
  indications.
  Table 5: Dosage and administration advice for patients with reduced renal function

                                                                           Treatment of DVT
                 Indication   VTE Prevention in      Stroke Prevention     and     PE    and
                              total hip and knee     in           Atrial   prevention     of
   Creatinine                 replacement            Fibrillation          recurrent DVT and
                                                                           PE
   Clearance (CrCl)

   Normal
   > 80 mL/min                                                             15 mg twice daily for
                              10 mg once daily       20 mg once daily      3 weeks, followed by
   Mild                                                                    20 mg once daily
   50 – 80 mL/min
                                                                           15 mg twice daily for
   Moderate
                              10 mg once daily       15 mg once daily      3 weeks, followed by
   30 – 49 mL/min
                                                                           20 mg once daily
   Severe                     10 mg once daily
                                                              Xarelto is contraindicated
   15 – 29 mL/min             (Use with caution)
   Severe
                                                   Xarelto is contraindicated
   < 15 mL/min
  Patients above 65 years
  Based on clinical data, no dose adjustment is required for these patient populations (see
  Pharmacokinetic properties).
  Increasing age is associated with declining renal function.
  Body weight
  No dose adjustment is required for these patient populations (see Pharmacokinetic properties).
  Gender
  No dose adjustment is required for these patient populations (see Pharmacokinetic properties).




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  Children and adolescents
  Xarelto is not recommended for use in children or adolescents below 18 years of age due to a
  lack of data on safety and efficacy.
  Ethnic differences
  No dose adjustment is required based on ethnic differences (see Pharmacokinetic properties).

  Switch from Vitamin K Antagonists (VKA) to Xarelto:
  For patients treated for prevention of stroke and systemic embolism, VKA treatment should be
  VWRSSHGDQG;DUHOWRWKHUDS\VKRXOGEHLQLWLDWHGRQFHWKH,15LV
  For patients treated for DVT and prevention of recurrent DVT and PE, VKA treatment should be
  stopped and Xarelto therapy should be initiated once WKH,15LV
  The INR is not a valid measure for the anticoagulant activity of Xarelto, and therefore should
  not be used. The INR is only calibrated and validated for VKAs and cannot be used for any
  other anticoagulant. When switching patients from VKAs to Xarelto, INR values will be elevated
  after the intake of Xarelto but this is not indicative of the anticoagulant effect of Xarelto (see
  Interactions with Other Medicines).

  Switch from Parenteral Anticoagulants to Xarelto:
  For patients currently receiving a parenteral anticoagulant, start Xarelto 0 to 2 hours before the
  time of the next scheduled administration of the parenteral drug (e.g., LMWH) or at the time of
  discontinuation of a continuously administered parenteral drug (e.g., intravenous unfractionated
  heparin).

  Switch from Xarelto to Parenteral Anticoagulants:
  Discontinue Xarelto and give the first dose of parenteral anticoagulant at the time that the next
  Xarelto dose would be taken.

  Switch from Xarelto to VKAs
  There is a potential for inadequate anticoagulation during the transition from Xarelto to VKA.
  Limited clinical trial data are available to guide the process whereby patients are converted
  from Xarelto to VKAs.
  Continuous adequate anticoagulation should be ensured during transition to an alternate
  anticoagulant. In patients converting from Xarelto to VKA, VKA should be given concurrently
  XQWLOWKH,15LV,WVKRXOGEHQRWHGWKDW;DUHOWRFDQFRQWULEXWHWRDQHOHYDWHG,15 and so
  INR measurements made during co-administration with warfarin may not be useful for
  determining the appropriate dose of VKA. Therefore, INR measurements should be made in
  accordance with the following guidance during the transition from Xarelto to VKA.
  For the first two days of the conversion period, standard initial dosing of VKA should be used
  and, after the first two days VKA dosing should be guided by INR testing. While patients are on
  both Xarelto and VKA, INR should be tested just prior to the next dose of Xarelto (not earlier
  than 24 hours after the previous dose). Once Xarelto is discontinued INR testing may be done
  reliably at least 24 hours after the last dose.

  Missed Dose

  It is essential to adhere to the dosage schedule provided.




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  x       Xarelto 10 mg, 15 mg, or 20 mg tablets taken once a day:
  If a dose is missed, the patient should take Xarelto immediately on the same day and continue
  on the following day with the once daily intake as before. A double dose should not be taken to
  make up for a missed tablet.

  x       Xarelto 15 mg tablets taken twice a day:
  If a dose is missed during the 15 mg twice daily treatment phase the patient should take the
  next dose immediately to ensure the intake of 30 mg total dose per day. In this case two 15 mg
  tablets may be taken at once. The following day the patient should continue with the regular 15
  mg twice daily intake schedule as recommended.
  OVERDOSAGE
  Overdose following administration of Xarelto may lead to haemorrhagic complications due to its
  pharmacodynamic properties.
  Rare cases of overdose up to 600 mg have been reported without bleeding complications or
  other adverse reactions. Due to limited absorption a ceiling effect with no further increase in
  average plasma exposure is expected at supratherapeutic doses of 50 mg or above.
  A specific antidote antagonising the pharmacological effect of rivaroxaban is not available.
  Activated charcoal may reduce absorption of the drug if given within 8 hours after ingestion. In
  patients who are not fully conscious or have impaired gag reflex, consideration should be given
  to administering activated charcoal via a nasogastric tube, once the airway is protected.
  Protamine sulphate and Vitamin K are not expected to affect the anticoagulant activity of
  rivaroxaban. Due to the high plasma protein binding rivaroxaban is not expected to be
  dialysable.
  PRESENTATION AND STORAGE CONDITIONS
  Xarelto 10 mg - One tablet contains 10 mg rivaroxaban. The tablets are film-coated, round,
  biconvex, light red immediate release tablets of 6 mm diameter marked with a Bayer cross on
  one side and “10” and a triangle on the other side. The tablets are supplied in packs of 3, 5, 10,
  15, 30, 100 tablets.
  Xarelto 15 mg - One tablet contains 15 mg rivaroxaban. The tablets are film-coated, round,
  biconvex, red immediate release tablets of 6 mm diameter marked with a Bayer cross on one
  side and “15” and a triangle on the other side. The tablets are supplied in packs of 7, 14, 28, 42,
  84, 98, 100 tablets.
  Xarelto 20 mg - One tablet contains 20 mg rivaroxaban. The tablets are film-coated, round,
  biconvex, brown red immediate release tablets of 6 mm diameter marked with a Bayer cross on
  one side and “20” and a triangle on the other side. The tablets are supplied in packs of 7, 28,
  84, 98, 100 tablets.
  Not all pack sizes may be marketed.
  The tablets are packed in thermoformed PP/Aluminium foil blisters or PVC/PVDC/Aluminium
  foil blisters. Store below 30 °C.
  PHARMACOLOGY

  Pharmacodynamic properties
  Pharmacotherapeutic group: Antithrombotic agent



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  Mechanism of Action
  Rivaroxaban is a highly selective direct Factor Xa inhibitor with oral bioavailability.
  Activation of Factor X to Factor Xa (FXa) via the intrinsic and extrinsic pathway plays a central
  role in the cascade of blood coagulation. FXa directly converts prothrombin to thrombin through
  the prothrombinase complex, and ultimately, this reaction leads to fibrin clot formation and
  activation of platelets by thrombin. One molecule of FXa is able to generate more than 1000
  molecules of thrombin due to the amplification nature of the coagulation cascade. In addition,
  the reaction rate of prothrombinase-bound FXa increases 300,000-fold compared to that of free
  FXa and causes an explosive burst of thrombin generation. Selective inhibitors of FXa can
  terminate the amplified burst of thrombin generation. Consequently, several specific and global
  clotting tests are affected by rivaroxaban. Dose dependent inhibition of Factor Xa activity was
  observed in humans.
  Pharmacodynamic effects
  Dose dependent inhibition of Factor Xa activity was observed in humans. Prothrombin time
  (PT) is influenced by rivaroxaban in a dose dependent way with a close correlation to plasma
  concentrations (r value equals 0.98) if Neoplastin® is used for the assay. Other reagents would
  provide different results. The readout for PT is to be done in seconds, because the INR
  (International Normalised Ratio) is only calibrated and validated for coumarins and can not be
  used for any other anticoagulant.
  Table 6: 5/95 percentiles for PT (Neoplastin®) after tablet intake

                                   VTE Prevention in    DVT Treatment and         Stroke Prevention in
                                   total hip and knee   prevention of recurrent   Atrial Fibrillation
                                   replacement          DVT and PE*


   Dosage                          10 mg                15 mg bid     20 mg od    15 mg od       20 mg od


   5/95 percentiles for PT         13 ȸ 25              16 ȸ 33       15 ȸ 30     10 ȸ 50        14 ȸ 40
   (Neoplastin®   ) 2 ȸ 4 hours
   after tablet intake (seconds)

  *measurements of 5/95 percentiles for PT were recorded 1 ȸ 4 hours after tablet intake
  od = once daily, bid = twice daily
  The activated partial thromboplastin time (aPTT) and HepTest® are also prolonged dose-
  dependently; however, they are not recommended to assess the pharmacodynamic effect of
  rivaroxaban. Anti-Factor Xa activity is also influenced by rivaroxaban; however no standard for
  calibration is available.
  There is no need for monitoring of coagulation parameters while using Xarelto.
  No QTc prolonging effect was observed with rivaroxaban.

  Pharmacokinetic properties

  Absorption and Bioavailability
  Rivaroxaban is rapidly absorbed with maximum concentrations (Cmax) appearing 2 - 4 hours
  after tablet intake. The absolute bioavailability of rivaroxaban is high (80-100 %) for the 10 mg
  dose irrespective of fasting/fed conditions. Under fed conditions Xarelto 10 mg, 15 mg and
  20 mg tablets demonstrated dose-proportionality. Oral bioavailability of Xarelto 20 mg tablet is



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  reduced to 66% under fasting conditions. When Xarelto 20 mg tablet is taken with food mean
  AUC is increased by 39% compared to tablet taken under fasting conditions. This indicates
  almost complete absorption and high oral bioavailability.
  Xarelto 10 mg tablets can be taken with or without food. Intake with food does not affect
  rivaroxaban AUC or Cmax at the 10 mg dose (see DOSAGE AND ADMINISTRATION).
  Xarelto 15 mg and 20 mg tablets should be taken with food (see DOSAGE AND
  ADMINISTRATION).
  Variability in rivaroxaban pharmacokinetics is moderate with inter-individual variability (CV %)
  ranging from 30 % to 40 %, apart from the day of surgery and the following day when variability
  in exposure is high (70%) in patients who underwent hip or knee replacement.
  Absorption of rivaroxaban is dependent on the site of drug release in the GI tract. A 29% and
  56% decrease in AUC and Cmax compared to tablet was reported when rivaroxaban granulate is
  released in the proximal small intestine. Exposure is further reduced when drug is released in
  the distal small intestine, or ascending colon. In case of administration of Xarelto through
  nasogastric/enteral tube, avoid administration of rivaroxaban distal to the stomach which can
  result in reduced absorption and related drug exposure.

  Bioavailability (AUC and Cmax) was comparable for 20 mg rivaroxaban administered orally as a
  crushed tablet mixed in applesauce, or suspended in water and administered via a gastric tube
  followed by a liquid meal, compared to a whole tablet. Given the predictable, dose-proportional
  pharmacokinetic profile of rivaroxaban, the bioavailability results from this study are likely
  applicable to lower rivaroxaban doses.

  Distribution
  Plasma protein binding in human is high at approximately 92% to 95%, with serum albumin
  being the main binding component. The volume of distribution is moderate with Vss being
  approximately 50 L.
  Metabolism and Elimination
  Of the administered rivaroxaban dose, approximately 2/3 undergoes metabolic degradation,
  with half then eliminated renally and the other half eliminated by the fecal route. The other 1/3
  of the administered dose undergoes direct renal excretion as unchanged active substance in
  the urine, mainly via active secretion.
  Rivaroxaban is metabolised via CYP3A4, CYP2J2 and CYP-independent mechanisms.
  Oxidative degradation of the morpholinone moiety and hydrolysis of the amide bonds are the
  major sites of biotransformation.
  Based on in vitro investigations rivaroxaban is a substrate of the transporter proteins P-gp (P-
  glycoprotein) and Bcrp (breast cancer resistance protein).
  Unchanged rivaroxaban is the most important compound in human plasma with no major or
  active circulating metabolites being present. With a systemic clearance of about 10 L/h
  rivaroxaban can be classified as a low-clearance drug. Elimination of rivaroxaban from plasma
  occurred with terminal half-lives of 5 to 9 hours in young individuals, and with terminal half-lives
  of 11 to 13 hours in the elderly.




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  Gender / Elderly (above 65 years)
  Whilst elderly patients exhibited higher plasma concentrations than younger patients with mean
  AUC values being approximately 1.5-fold higher, mainly due to reduced (apparent) total and
  renal clearance, no dose adjustment is necessary (see DOSAGE AND ADMINISTRATION).
  There were no clinically relevant differences in pharmacokinetics and pharmacodynamics
  between male and female patients (see DOSAGE AND ADMINISTRATION).
  Different weight categories
  Extremes in body weight (< 50 kg or > 120 kg) had only a small influence on rivaroxaban
  plasma concentrations (less than 25 %). No dose adjustment is necessary (see DOSAGE AND
  ADMINISTRATION).
  Children and adolescents (from birth to 18 years)
  No data are available for this patient population (see DOSAGE AND ADMINISTRATION).
  Interethnic differences
  No clinically relevant interethnic differences among Caucasian, African-American, Hispanic,
  Japanese or Chinese patients were observed regarding rivaroxaban pharmacokinetics and
  pharmacodynamics (see DOSAGE AND ADMINISTRATION).
  Hepatic impairment
  The critical aspect of liver impairment is the reduced synthesis of normal coagulation factors in
  the liver, which is captured by only one of the five clinical/biochemical measurements
  composing the Child-Pugh classification system. The bleeding risk in patients may not clearly
  correlate with this classification scheme. Therefore, the decision to treat patients with an
  anticoagulant should be made independently of the Child-Pugh classification.
  Cirrhotic patients with mild hepatic impairment (classified as Child-Pugh A) exhibited only minor
  changes in rivaroxaban pharmacokinetics (1.2-fold increase in rivaroxaban AUC on average),
  nearly comparable to their matched healthy control group. No relevant difference in
  pharmacodynamic properties was observed between these groups. In cirrhotic patients with
  moderate hepatic impairment (classified as Child-Pugh B), rivaroxaban mean AUC was
  significantly increased by 2.3-fold compared to healthy volunteers, due to significantly impaired
  drug clearance which indicates significant liver disease. Unbound AUC was increased 2.6-fold.
  There are no data in patients with severe hepatic impairment. The inhibition of FXa activity was
  increased by a factor of 2.6 as compared to healthy volunteers; prolongation of PT was similarly
  increased by a factor of 2.1.
  The global clotting test PT assesses the extrinsic pathway that comprises of coagulation
  Factors VII, X, V, II, and I, which are synthesised in the liver. Patients with moderate hepatic
  impairment were more sensitive to rivaroxaban resulting in a steeper PK/PD relationship
  between concentration and PT. The elevated PT at baseline and a significantly altered
  sensitivity in anti-coagulant activity towards rivaroxaban plasma exposure (increase in slope for
  PT/rivaroxaban plasma concentration relationship by more than 2-fold) in cirrhotic patients with
  moderate hepatic impairment indicate the decreased ability of the liver to synthesize
  coagulation factors. The PK/PD changes in these patients are markers for the severity of the
  underlying hepatic disease which is expected to lead to a subsequent increased bleeding risk in
  this patient group.
  Therefore Xarelto is contraindicated in patients with significant hepatic disease (including
  moderate and severe hepatic impairment, i.e. Child-Pugh B and C) which is associated with
  coagulopathy leading to a clinically relevant bleeding risk. No data are available for severe


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  hepatic impairment (Child-Pugh C patients) (see DOSAGE AND ADMINISTRATION). Xarelto
  may be used with caution in cirrhotic patients with moderate hepatic impairment if it is not
  associated with coagulopathy.
  Renal impairment
  Rivaroxaban exposure was inversely correlated to the decrease in renal function, as assessed
  via creatinine clearance (CrCl) measurements. In individuals with mild (creatinine clearance
  50 - 80 mL/min), moderate (creatinine clearance 30 - 49 mL/min) and severe (creatinine
  clearance 15-29 mL/min) renal impairment, rivaroxaban plasma concentrations (AUC) were 1.4,
  1.5 and 1.6-fold increased respectively as compared to healthy volunteers (see DOSAGE AND
  ADMINISTRATION and PRECAUTIONS).
  Corresponding increases in pharmacodynamic effects were more pronounced (see DOSAGE
  AND ADMINISTRATION and PRECAUTIONS) in individuals with mild, moderate or severe
  renal impairment; the overall inhibition of FXa activity was increased by a factor of 1.5, 1.9 and
  2.0 respectively as compared to healthy volunteers. Prolongation of PT was similarly increased
  by a factor of 1.3, 2.2 and 2.4 respectively.

  There are no data in patients with CrCl < 15 mL/min. Use is contraindicated in patients with
  creatinine clearance < 15 mL/min (see CONTRAINDICATIONS). Xarelto is to be used with
  caution in patients with severe renal impairment creatinine clearance 15-29 mL/min. Xarelto 15
  mg and 20 mg are contraindicated in patients with CrCl < 30 mL/min (see DOSAGE AND
  ADMINISTRATION and PRECAUTIONS).
  Due to the underlying disease patients with severe renal impairment are at an increased risk of
  both bleeding and thrombosis. The increased exposure to rivaroxaban further increases the risk
  of bleeding in these patients. Due to the high plasma protein binding rivaroxaban is not
  expected to be dialysable.
  If there is a suspicion of renal impairment, the degree of renal impairment must be determined
  accurately. Caution must be exercised when renal function estimates are based on eGFR. In
  clinical trials, renal function was determined using the calculated creatinine clearance, using the
  Cockcroft-Gault Formula as follows:
  For serum creatinine concentration in mg/100 mL:

                                        140  age > years @ u weight >kg @
  Creatinine Clearance >mL / min @                                         u 0.85 for women
                                      72 u serum creatinine >mg / 100 mL@

  For serum creatinine concentration in μmol/L:

                                     1.23 u 140  age > years @ u weight >kg @
  Creatinine Clearance >mL / min @                                             u 0.85 for women
                                           serum creatinine >Pmol / L@



  CLINICAL STUDIES

  Prevention of Venous Thromboembolic Events (VTE) in patients undergoing major
  orthopaedic surgery of the lower limbs

  The RECORD clinical program was designed to demonstrate the efficacy of rivaroxaban for the
  prevention of VTE, i.e. proximal and distal DVT and PE in patients undergoing major
  orthopaedic surgery of the lower limbs. Over 9,500 patients (7,050 in total hip replacement



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  surgery and 2,531 in total knee replacement surgery) were studied in controlled randomised
  double-blind Phase III clinical studies, known as the RECORD-program.
  RECORD 1 and 2 were conducted in patients undergoing elective total hip replacement surgery
  (THR) and RECORD 3 was performed in patients undergoing elective total knee replacement
  (TKR) surgery. Rivaroxaban has not been studied in interventional clinical trials in patients
  undergoing hip fracture surgery.
  Table 7: Patient demographics – RECORD studies

                                                                           Mean age Ʋ SD
   Study             No of patients       N (%) / Sex
                                                                           (years)

   RECORD       1    2209 rivaroxaban     1971(44.5)/      2462 (55.5)/    63.2 Ʋ 11.4
   (THR)                                  male             female
                     2224 enoxaparin

   RECORD 2          1228 rivaroxaban     1139 (46)/       1318 (54)/      61.5 Ʋ 13.4
   (THR)                                  male             female
                     1229 enoxaparin

   RECORD 3          1220 rivaroxaban     781 (31.8)/      1678 (68.2)/    67.6 Ʋ 9.0
   (TKR)                                  male             female
                     1239 enoxaparin

  The respective studies were heterogeneous with respect to their composition of participating
  countries (centres from Europe, North and South America, Asia and Australia). Men and
  women of 18 years or older scheduled for hip or knee replacement surgery could be enrolled
  provided that they had no active or high risk of bleeding or other conditions contraindicating
  treatment with low-molecular weight heparin, no significant liver disease, were not pregnant or
  breastfeeding, or were not using HIV protease inhibitors.
  In all three pivotal studies, rivaroxaban 10 mg once daily started not earlier than 6 hours
  postoperatively was compared with enoxaparin 40 mg once daily started 12 hours
  preoperatively.
  The primary efficacy analysis in all studies was based on stratified (by geographical region) risk
  difference between rivaroxaban and enoxaparin and corresponding 2-sided 95% confidence
  intervals. Efficacy was assessed in two steps; first a non-inferiority test was performed based
  on the per protocol population. Since non-inferiority was shown, a pre-specified superiority
  analysis was performed subsequently based on the modified ITT population.
  In all three Phase III studies (see Table 8) rivaroxaban significantly reduced the rate of total
  VTE (any venographically detected or symptomatic DVT, non fatal PE or death) and major VTE
  (proximal DVT, non fatal PE or VTE-related death), the pre-specified primary and major
  secondary efficacy endpoints. The results were clinically meaningful and statistically significant.
  Relative risk reductions in total VTE were 49% (RECORD 3) and 70% (RECORD 1) in
  comparison to enoxaparin and 79% (RECORD 2) in comparison to enoxaparin/placebo.
  Furthermore in all three studies the rate of symptomatic VTE (symptomatic DVT, non-fatal PE,
  VTE-related death) was lower in rivaroxaban treated patients compared to patients treated with
  enoxaparin.
  The main safety endpoint, major bleeding, showed comparable rates for patients treated with
  rivaroxaban 10 mg compared to enoxaparin 40 mg.




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  Table 8: Efficacy and safety results from Phase III RECORD (VTE Prevention in THR, TKR)

                                           RECORD 1                                   RECORD 2                                      RECORD 3

                              4541 patients undergoing total hip           2509 patients undergoing total hip         2531 patients undergoing total knee
Study Population
                                    replacement surgery                          replacement surgery                         replacement surgery

                        Rivaroxaban          Enoxaparin                 Rivaroxaban      Enoxaparin                Rivaroxaban 10      Enoxaparin
Treatment dosage         10 mg od             40 mg od                    10 mg od        40 mg od                      mg od           40 mg od
and duration after                                           p value                                     p value                                      p value
                        35 Ʋ 4 days          35 Ʋ4 days                  35 Ʋ4 days      12 Ʋ2 days                   12Ʋ 2 days       12 Ʋ2 days
surgery
                           n (%)                n (%)                       n (%)           n (%)                       n (%)             n (%)
Total VTE                 18 (1.1)            58 (3.7)       <0.001       17 (2.0)         81 (9.3)      <0.001       79 (9.6)         166 (18.9)     <0.001
Major VTE                  4 (0.2)            33 (2.0)       <0.001       6 (0.6)          49 (5.1)       <0.001       9 (1.0)          24 (2.6)       0.01

Symptomatic VTE            6 (0.4)            11 (0.7)             --     3 (0.4)          15 (1.7)          --        8 (1.0)          24 (2.7)        --

Major bleedings            6 (0.3 )            2 (0.1)             --     1 (0.1)          1 (0.1)           --        7 (0.6)           6 (0.5)        --

PE (non fatal)             4 (0.3)            1 (<0.1)             --     1 (0.1)          4 (0.5)           --        0 (0.0)           4 (0.5)        --

Death (any
                           4 (0.3)             4 (0.3)             --     2 (0,2)          6 (0.7)           --        0 (0.0)           2 (0.2)        --
cause)

VTE related death          0 (0.0)            1 (<0.1)             --     0 (0.0)          1 (0.1)           --        0 (0.0)           0 (0.0)        --
  n = number of events; (%) = percentage




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  The analysis of the pooled results of the Phase III trials corroborated the data obtained in the
  individual studies regarding reduction of total VTE, major VTE and symptomatic VTE with
  rivaroxaban 10 mg once daily compared to enoxaparin 40 mg once daily.
  In addition to the Phase III RECORD program, a post-authorisation, non-interventional, open-
  label cohort study (XAMOS) has been conducted in 17,413 patients undergoing major
  orthopaedic surgery of the hip or knee, to compare rivaroxaban 10 mg with other standard-of-
  care (82% received LMWH) pharmacological thromboprophylaxis in a real-life setting.
  Symptomatic VTE occurred in 57 (0.6%) patients in the rivaroxaban group (n=8,778) and 88
  (1.0%) of patients in the standard-of-care group (n=8,635; HR 0.63; 95% CI 0.43-0.91); safety
  population). Major bleeding occurred in 35 (0.4%) and 29 (0.3%) of patients in the rivaroxaban
  and standard-of-care groups (HR 1.10; 95% CI 0.67-1.80). This non-interventional study
  confirmed the efficacy and safety results seen in the RECORD program.

  In the population of subjects who have taken at least one dose of Xarelto 10 mg od, a total of
  1191 subjects were included in the knee replacement trial with a scheduled treatment period of
  about 2 weeks and 3380 subjects included in the total hip replacement trials with a scheduled
  treatment period of about 5 weeks. The two treatment groups, rivaroxaban and
  enoxaparin/placebo showed very similar demographic and baseline characteristics.

  The incidence of common treatment-emergent adverse reactions reported in the safety
  population was similar in both treatment groups for the three Phase III studies irrespective of
  treatment duration and for treatment period until Day 12 Ʋ 2. The most frequently reported
  treatment-emergent adverse reactions in both treatment groups during both treatment periods
  were gastrointestinal disorders, in particular nausea; procedural complications such as post
  operative anaemia; and investigations, in particular related to liver function tests.
  Prevention of stroke and systemic embolism in patients with non-valvular atrial
  fibrillation
  The ROCKET-AF clinical program was designed to demonstrate the efficacy of Xarelto for the
  prevention of stroke and systemic embolism in patients with non-valvular atrial fibrillation (AF).
  In the pivotal randomised, double-blind, double-dummy, parallel-group, event-driven, non-
  inferiority ROCKET-AF study comparing once daily oral rivaroxaban with adjusted-dose oral
  warfarin, 14,264 patients were assigned either to rivaroxaban 20 mg orally once daily (15 mg
  orally once daily in patients with CrCl 30 to 49 mL/min) (7131 subjects) or to warfarin (7133
  subjects) titrated to a target INR of 2.5 (therapeutic range 2.0 to 3.0) in 45 countries. The
  median time on treatment was 19 months and overall treatment duration was up to 41
  months. The mean duration of Xarelto treatment exposure was 572 days.
  Patients included in the trial had non-valvular atrial fibrillation and a history of prior stroke
  (ischemic or unknown type), transient ischemic attack (TIA) or non-CNS systemic embolism,
  or two or more of the following risk factors without prior stroke:

  x       DJH\HDUV
  x       hypertension,
  x       KHDUWIDLOXUHRUOHIWYHQWULFXODUHMHFWLRQIUDFWLRQ 35%, or
  x       diabetes mellitus
  The mean age of patients was 71 years with 44% > 75 years. The population was 60% male,
  83% Caucasian, 13% Asian and 4% other. There was a history of stroke, TIA, or non-CNS
  systemic embolism in 55% of patients, and 38% of patients had not taken a vitamin K
  antagonist (VKA) within 6 weeks at time of screening. At baseline, 37% of patients were on
  aspirin (almost exclusively at a dose of 100 mg or less). A few patients were on clopidogrel
  and 11.4 % on class III antiarrythmics including amiodarone. The study included patients with
  co morbidities e.g. 55% secondary prevention population (prior stroke/ TIA/ Systemic

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  embolism), hypertension 91%, diabetes 40%, congestive heart failure 63%, and prior
  myocardial infarction 17%. Patients with various degree of renal impairment were included in
  the study, see Table 9 for details.
  Table 9: Baseline patient numbers for creatinine clearance groups
             CrCl ml/min                       rivaroxaban                     warfarin
      (degree of renal impairment)               n = 7123                      n = 7124
               <30 (severe)                      4 (0.1%)                      4 (0.1%)
            30 - 49 (moderate)                1503 (21.1%)                  1475 (20.7%)
               50 - 80 (mild)                 3321 (46.6%)                  3414 (47.9%)
              > 80 (normal)                   2295 (32.2%)                  2231 (31.3%)
  Exclusion criteria included:
  -   cardiac related conditions (haemodynamically significant mitral valve stenosis, prosthetic
      heart valve, planned cardioversion, transient atrial fibrillation caused by reversible
      disease, known presence of atrial myxoma or left ventricular thrombus and active
      endocarditis),
  -   haemorrhage risk related conditions (active internal bleeding, major surgical procedure or
      trauma within 30 days before randomisation, clinically significant gastrointestinal (GI)
      bleeding within 6 months of randomisation, history of intracranial, intraocular, spinal or
      atraumatic intra-articular bleeding, chronic haemorrhagic disorder, known intracranial
      neoplasm, arteriovenous malformation, or aneurysm)
  -   planned invasive procedure with potential for uncontrolled bleeding
  -   sustained uncontrolled hypertension ( >180/100 mm Hg)
  -   concomitant conditions and therapies listed under CONTRAINDICATIONS as well as
      severe disabling stroke (modified Rankin score 4-5) or any stroke within 14 days, TIA
      within 3 days, >100 mg acetylsalicylic acid (ASA), anticipated need for chronic NSAIDs
      treatment, known HIV infection at the time of screening, significant hepatic impairment or
      ( ALT > 3 x ULN)

  The Principal Investigators were instructed to dose their patients with warfarin orally once
  daily, dose-adjusted to a target International Normalized Ratio [INR] of 2.5 [range 2.0 to 3.0,
  inclusive]. During the study, INR monitoring (using a Hemosense® point of-care INR device
  [INRatio®]) was to occur as clinically indicated but at least every 4 weeks. Unblinded INR
  measurements were not performed while subjects were on study drug, except in case of a
  medical emergency.
  In order to maintain the integrity of the blind, local unblinded INR measurements (i.e., not
  using the study Hemosense INRatio® device) were discouraged for at least 3 days after
  subjects stopped receiving study drug (after the start of open-label VKA therapy), including
  when the subject discontinued study medication, or completed the study. After 3 days, VKA
  dosing was managed using local unblinded INR measurements.
  Comparative efficacy with standard of care (warfarin) in the double blind clinical trial setting
  provides evidence that rivaroxaban is as effective as warfarin. There is insufficient experience
  to determine how Xarelto and warfarin compare when warfarin therapy is well controlled.
  Unlike some other contemporary trials, these committees did not provide detailed and focused
  direction to the sites about their handling of individual patient INRs, since one goal of the trial
  was to run the study as close to usual care as possible, to maximize generalisability of the
  final results to standard practice.


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  The primary objective of the study was met, as Xarelto was shown to be non-inferior to
  warfarin in the primary efficacy endpoint, composite of stroke and systemic embolism (HR
  0.79, 95% CI 0.66 ȸ 0.96, p < 0.001). As non-inferiority was met, Xarelto was tested as per
  the pre-specified analysis plan in the safety population / on treatment. While patients were on
  therapy, patients randomized to rivaroxaban experienced fewer stroke and non-CNS systemic
  embolism events compared to patients on warfarin (HR 0.79, 95% CI 0.65-0.95, p=0.015).
  Among all randomised patients analysed according to ITT, primary events occurred in 269 on
  rivaroxaban (2.12% per year) and 306 on warfarin (2.42% per year) (HR 0.88; 95% CI, 0.74
  ȸ 1.03; p<0.001 for non-inferiority; p=0.117 for superiority). Major secondary endpoints;
  composite of stroke, systemic embolism and vascular death and composite of stroke,
  systemic embolism, myocardial infarction (MI) and vascular death were also reduced
  significantly (see Table 10).
  There were 14,236 subjects in the safety population who were uniquely randomised to
  rivaroxaban (n = 7111) and warfarin (n = 7125) groups and took at least 1 dose of study
  medication. The incidence rates for the principal safety outcome (major and non-major
  clinically relevant bleeding events) were similar for both treatment groups (see Table 11).
  Table 10: Efficacy results from Phase III ROCKET AF (Stroke Prevention in AF)

   Study Population             ITT analyses of efficacy in Patients with non-valvular atrial fibrillation (AF)
                                        Rivaroxaban                         Warfarin
                                       20 mg orally od              titrated to a target INR
                                                                                                  Hazard Ratio (95%
                                 (15 mg orally od in patients          of 2.5 (therapeutic
                                                                                                         CI)
   Treatment, Dosage             with CrCl 30 to 49 mL/min)             range 2.0 to 3.0)
                                                                                                   p-value, test for
                                                                                                      superiority
                                         N=7061                           N=7082
                                  Event Rate (100 Pt-yr)#          Event Rate (100 Pt-yr) #
   Stroke and Non-CNS                        269                              306                 0.88 (0.74 – 1.03)
   Systemic embolism                       (2.12%)                          (2.42%)                     0.117
   Stroke, Non-CNS
                                        572 (4.51%)                       609 (4.81%)             0.94 (0.84 – 1.05)
   Systemic embolism and
                                                                                                        0.265
   Vascular Death
   Stroke, Non-CNS
                                                                                                  0.93 (0.83 – 1.03)
   Systemic embolism,                   659 (5.24%)                       709 (5.65%)
                                                                                                        0.158
   Vascular Death and MI
                                                                                                  0.90 (0.76 – 1.07)
   Stroke                               253 (1.99%)                       281 (2.22%)
                                                                                                        0.221
   Non-CNS Systemic                                                                               0.74 (0.42 – 1.32)
                                         20 (0.16%)                       27 (0.21%)
   Embolism                                                                                             0.308
                                                                                                  0.91 (0.72 – 1.16)
   Myocardial Infarction                130 (1.02%)                       142 (1.11%)
                                                                                                        0.464
  #   Number of events per 100 patient years of follow up

  Table 11: Safety results from Phase III ROCKET AF (Stroke Prevention in AF)

   Study Population           Patients with non-valvular atrial fibrillation (AF) ^

                                     Rivaroxaban                         Warfarin
                                    20 mg orally od              titrated to a target INR
                              (15 mg orally od in patients                                     Hazard Ratio (95%
                                                                    of 2.5 (therapeutic
   Treatment, Dosage          with CrCl 30 to 49 mL/min)                                              CI)
                                                                     range 2.0 to 3.0)
                                                                                                    p-value
                                       N=7111                             N=7125
                               Event Rate (100 Pt-yr) #         Event Rate (100 Pt-yr) #

   Major and Non-major
                                         1475                            1449                  1.03 (0.96 - 1.11)
   Clinically Relevant
                                       (14.91%)                        (14.52%)                      0.442
   bleeding events



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   Study Population           Patients with non-valvular atrial fibrillation (AF) ^

                                     Rivaroxaban                      Warfarin
                                    20 mg orally od           titrated to a target INR
                              (15 mg orally od in patients                               Hazard Ratio (95%
                                                                 of 2.5 (therapeutic
   Treatment, Dosage          with CrCl 30 to 49 mL/min)                                        CI)
                                                                  range 2.0 to 3.0)
                                                                                              p-value
                                       N=7111                          N=7125
                               Event Rate (100 Pt-yr) #      Event Rate (100 Pt-yr) #

                                         395                           386               1.04 (0.90 - 1.20)
   Major bleeding events
                                       (3.60%)                       (3.45%)                   0.576
                                          27                            55                0.50 (0.31,0.79)
   Death due to bleeding
                                       (0.24%)                       (0.48%)                  0.003*
   Critical Organ                         91                           133               0.69 (0.53 - 0.91)
   Bleeding                            (0.82%)                       (1.18%)                  0.007*
   Intracranial                           55                            84                0.67 (0.47–0.93)
   haemorrhage                         (0.77%)                       (1.18%)                   0,019*
                                         305                           254               1.22 (1.03 - 1.44)
   Haemoglobin drop
                                       (2.77%)                       (2.26%)                  0.019*
   Transfusion of 2 or
   more units of packed                  183                           149               1.25 (1.01 - 1.55)
   red blood cells or                  (1.65%)                       (1.32%)                  0.044*
   whole blood.
   Non-major Clinically
                                         1185                          1151              1.04 (0.96 - 1.13)
   Relevant bleeding
                                       (11.80%)                      (11.37%)                  0.345
   events
                                         208                           250               0.85 (0.70 – 1.02)
   All cause mortality
                                       (1.87%)                       (2.21%)                   0.073
  ^   Safety population, on treatment = All ITT subjects who take at least 1 dose of study medication
      after    randomisation during double-blind treatment period or within 2 days after discontinuation
      (site 042012 was excluded for efficacy analysis)
  #    Number of events per 100 patient years of follow up
  *   Statistically significant at nominal alpha = 0.05 (two sided)

  Cardioversion

  A prospective, randomised, open-label, multicentre, exploratory study with blinded endpoint
  evaluation (X-VERT) was conducted in 1504 patients (oral anticoagulant naïve and pre-
  treated) with non-valvular atrial fibrillation scheduled for cardioversion to compare rivaroxaban
  with dose-adjusted VKA (randomized 2:1), for the prevention of cardiovascular events.
  Transoesophageal echocardiogram-guided (TOE-guided) (1-5 days of pre-treatment) or
  conventional cardioversion (at least three weeks of pre-treatment) strategies were employed.
  The primary efficacy outcome (all stroke, transient ischaemic attack, non-CNS systemic
  embolism, MI and cardiovascular death) occurred in 5 (0.5%) patients in the rivaroxaban
  group (n=978) and 5 (1.0%) patients in the VKA group (n=492; RR 0.50; 95% CI 0.15-1.73;
  modified ITT population). The principal safety outcome (major bleeding) occurred in 6 (0.6%)
  and 4 (0.8%) patients in the rivaroxaban (n=988) and VKA (n=499) groups, respectively (RR
  0.76; 95% CI 0.21-2.67; safety population). This exploratory study showed comparable
  efficacy and safety between rivaroxaban and the VKAs treatment groups in the setting of
  cardioversion.
  Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism (PE) and prevention
  of recurrent DVT and PE

  The EINSTEIN clinical program was designed to demonstrate the efficacy of rivaroxaban in
  the initial and continued treatment of acute DVT and PE and prevention of recurrent DVT and
  PE. Over 9400 patients were studied in three randomised controlled Phase III clinical studies

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  (EINSTEIN DVT, EINSTEIN PE and EINSTEIN Extension) and additionally a pre-defined
  analysis of the pooled EINSTEIN DVT and EINSTEIN PE studies was conducted (see Table
  15). The overall combined treatment duration in all studies was up to 21 months.
  All Phase III studies used the same pre-defined primary and secondary efficacy outcomes.
  The primary efficacy outcome was symptomatic recurrent VTE defined as the composite of
  recurrent DVT or fatal or non-fatal PE. The secondary efficacy outcome was defined as the
  composite of recurrent DVT, non-fatal PE and all-cause mortality.
  EINSTEIN DVT and EINSTEIN PE studies
  In the EINSTEIN DVT and EINSTEIN PE, open label, randomised, event driven non-inferiority
  studies, 3449 patients with acute DVT were studied for the treatment of DVT and the
  prevention of recurrent DVT and PE; 4832 patients with acute PE were studied for the
  treatment of PE and the prevention of recurrent DVT and PE. Concomitant conditions listed
  under CONTRAINDICATIONS as well as subjects who had significant liver disease or ALT >
  3 x ULN, bacterial endocarditis, VKA treatment indicated other than DVT and/or PE were
  excluded from these studies.
  Based on the clinical judgement of the investigator, the treatment duration was up to
  12 months in both studies, assigned prior to randomisation. For the initial 3 week treatment of
  acute DVT and acute PE, 15 mg of Xarelto was administered twice daily. This was followed by
  20 mg of Xarelto once daily. Patients with moderate renal impairment (creatinine clearance 30
  – 49 mL/min) were treated with the same dose as patients with creatinine clearance above 50
  mL/min (i.e. 15 mg twice daily for the first three weeks and 20 mg once daily from day 22
  onwards). The comparator treatment regimen consisted of enoxaparin administered for at
  least 5 days in combination with vitamin K antagonist treatment until the prothrombin
  time/international normalised ratio (PT/INR) was in therapeutic range (t 2.0). Treatment was
  continued with a vitamin K antagonist dose-adjusted to maintain the PT/INR values within the
  therapeutic range of 2.0 to 3.0.
  After randomisation, subjects allocated to the comparator arm received enoxaparin twice daily
  for at least 5 days in combination with VKA (overlap 4 to 5 days) and continued with VKA only
  after the INR had been t 2 for two consecutive measurements at least 24 hours apart.
  Warfarin and acenocoumarol were allowed as VKAs. Warfarin and acenocoumarol were to
  be started not later than 48 hours after randomisation. VKA dosages were individually
  titrated and adjusted to achieve a target INR of 2.5 and maintain the INR within the
  therapeutic range (range 2.0-3.0) for either 3, 6 or 12 months. The INR had to be measured
  initially every 2 to 3 days, and at least once monthly once stable. Each centre had to specify
  before study start which VKA compound (warfarin or acenocoumarol) would be used during
  the study.
  In the ITT analysis of EINSTEIN DVT, subjects were comparable between treatment groups.
  About 57% of subjects were male. The ethnicity of about 77% of subjects was described as
  white, for about 13% as Asian, and for about 2% as black. Age ranged from 18-95 years in the
  rivaroxaban and from 18-97 years in the enoxaparin/VKA group, with a mean of approximately
  56 years in both groups. Mean body weight was about 82 kg, with ranges from 33 to 193 kg.
  In the ITT analysis of EINSTEIN PE, subjects were comparable between treatment groups.
  54.1% and 51.7% were men in the rivaroxaban and enoxaparin / VKA groups respectively.
  The ethnicity of about 66% of subjects was described as white. Age ranged from 18 to 97
  years, with a mean of approximately 58 years in both treatment groups. Mean body weight
  was about 83 kg, ranging from 35 to 220 kg.

  Table 12:    Baseline patient numbers for creatinine clearance groups in EINSTEIN DVT and
               EINSTEIN PE
                                       EINSTEIN DVT                      EINSTEIN PE


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   Creatinine clearance              Rivaroxaban             Enox/VKA          Rivaroxaban           Enox/VKA
   (mL/min)                            n = 1525              n = 1571            n = 2419            n = 2413
   < 30 mL/min (severe)                6 (0.3%)               9 (0.5%)            4 (0.2%)           2 (< 0.1%)

   30 - 49 mL/min (moderate)          115 (6.6%)             120 (7.0%)         207 (8.6%)           191 (7.9%)

   50 - 80 mL/min (mild)             393 (22.7%)             399 (23.2%)       637 (26.3%)          593 (24.6%)

   > 80 mL/min (normal)             1193 (68.9%)          1170 (68.1%)         1555 (64.3%)         1617 (67.0%)

  EINSTEIN-DVT (see Table 13) met its principal objective, demonstrating that Xarelto was
  non-inferior to enoxaparin/VKA for the primary outcome of symptomatic recurrent VTE (HR of
  0.68 [95% CI = 0.44 ȸ 1.04], p <0.001). The pre-specified test for superiority was not
  statistically significant (p = 0.0764). The incidence rates for the principal safety outcome
  (major or clinically relevant non-major bleeding events), as well as the secondary safety
  outcome (major bleeding events), were similar for both groups (HR of 0.97 [95% CI = 0.76 ȸ
  1.22], p = 0.77 and HR of 0.65 [95% CI = 0.33 ȸ 1.30), p = 0.21, respectively). The pre-
  defined secondary outcome of net clinical benefit, (the composite of the primary efficacy
  outcome and major bleeding events), was reported with a HR of 0.67 ([95% CI = 0.47 ȸ
  0.95], p = 0.03) in favour of Xarelto.
  The relative efficacy and safety findings were consistent regardless of pre-treatment (none,
  LMWH, unfractionated heparin or fondaparinux) as well as among the 3, 6 and 12-month
  durations. In terms of other secondary outcomes, vascular events occurred in 12 patients
  (0.7%) in the Xarelto arm and 14 patients (0.8%) in the enoxaparin/VKA group (HR of 0.79
  [95% CI = 0.36 – 1.71], p = 0.55), and total mortality accounted for 38 (2.2%) vs. 49 (2.9%)
  patients in the Xarelto vs. enoxaparin/VKA arms, respectively (p = 0.06).
  Table 13: Efficacy and safety results from Phase III EINSTEIN DVT (DVT treatment)

   Study Population               3449 patients with symptomatic acute deep vein thrombosis

                                               Xarelto                             Enoxaparin
                                   15 mg BID for 3 weeks followed                   for 5 days
   Treatment Dosage and                    by 20 mg OD                          followed by VKA
   Duration                              3, 6 or 12 months                      3, 6 or 12 months
                                              N=1731                                 N=1718
   Symptomatic recurrent
                                              36 (2.1%)                             51 (3.0%)
   VTE*
   Symptomatic recurrent
                                              20 (1.2%)                             18 (1.0%)
   PE
   Symptomatic recurrent
                                              14 (0.8%)                             28 (1.6%)
   DVT
   Symptomatic PE and DVT                      1 (0.1%)                                 0
   Fatal PE/Death where PE
                                               4 (0.2%)                              6 (0.3%)
   cannot be ruled out
   Major bleeding events                      14 (0.8%)                             20 (1.2%)
   All-cause mortality                        38 (2.2%)                             49 (2.9%)
  *p:     < 0.0001 (non-inferiority), 0.076 (superiority),        HR:      0.680 (0.443 - 1.042)

  In the EINSTEIN PE study (see Table 14) rivaroxaban was demonstrated to be non-inferior to
  enoxaparin/VKA for the primary efficacy outcome (p = 0.0026 (test for non-inferiority); hazard
  ratio: 1.12 (0.75 – 1.68)). The pre-specified net clinical benefit (primary efficacy outcome plus
  major bleeding events) was reported with a hazard ratio of 0.85 ((95% CI: 0.63 - 1.14),
  nominal p value p = 0.275).


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  The incidence rate for the primary safety outcome (major or clinically relevant non-major
  bleeding events) was slightly lower in the rivaroxaban treatment group (10.3% (249/2412))
  than in the enoxaparin/VKA treatment group (11.4% (274/2405)). The incidence of the
  secondary safety outcome (major bleeding events) was lower in the rivaroxaban group (1.1%
  (26/2412)) than in the enoxaparin/VKA group (2.2% (52/2405)) with a hazard ratio 0.49 (95%
  CI: 0.31 - 0.79; p-value for superiority 0.0032).

  Table 14: Efficacy and safety results from Phase III EINSTEIN PE (PE treatment)

             Study population                         4,832 patients with an acute symptomatic PE

                                                         Xarelto
                                                                                Enoxaparin for 5 days followed
                                            15 mg BID for 3 weeks followed by              by VKA
   Treatment dosage and duration                       20 mg OD
                                                                                     3, 6 or 12 months
                                                   3, 6 or 12 months
                                                                                          N = 2413
                                                        N = 2419
   Symptomatic recurrent VTE*                           50 (2.1%)                         44 (1.8%)
      Symptomatic recurrent PE                          23 (1.0%)                         20 (0.8%)
     Symptomatic recurrent DVT                          18 (0.7%)                         17 (0.7%)
     Symptomatic PE and DVT                                 0                            2 (< 0.1%)
     Fatal PE/Death where PE cannot
                                                        11 (0.5%)                         7 (0.3%)
     be ruled out
   Major bleeding events                                26 (1.1%)                         52 (2.2%)
  * p < 0.0026 (non-inferiority); hazard ratio: 1.12 (0.75 – 1.68)

  A prespecified pooled analysis of the outcome of the EINSTEIN DVT and PE studies was
  conducted (see Table 15).

  Table 15: Efficacy and safety results from pooled analysis of Phase III EINSTEIN DVT and
            EINSTEIN PE

             Study population                      8,281 patients with an acute symptomatic DVT or PE
                                                         Xarelto
                                                                                Enoxaparin for 5 days followed
                                            15 mg BID for 3 weeks followed by             by VKA
   Treatment dosage and duration                       20 mg OD
                                                                                     3, 6 or 12 months
                                                   3, 6 or 12 months
                                                                                         N = 4,131
                                                       N = 4,150
   Symptomatic recurrent VTE*                           86 (2.1%)                          95 (2.3%)
      Symptomatic recurrent PE                          43 (1.0%)                          38 (0.9%)
     Symptomatic recurrent DVT                          32 (0.8%)                          45 (1.1%)
     Symptomatic PE and DVT                             1 (<0.1%)                          2 (<0.1%)
     Fatal PE/Death where PE cannot
                                                        15 (0.4%)                          13 (0.3%)
   be ruled out
   Major bleeding events                                40 (1.0%)                          72 (1.7%)
  * p < 0.001 (non-inferiority); hazard ratio: 0.89 (0.66 – 1.19)

  EINSTEIN Extension study
  EINSTEIN Extension, a double blind, randomised, event driven superiority study included
  1,197 patients with confirmed symptomatic DVT or PE. Xarelto 20 mg once daily was
  compared with placebo for an additional 6 to 12 months in patients who had completed initial
  treatment for DVT or PE for 6 to 14 months; where clinical uncertainty with respect to the


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  need for continued anticoagulation existed. The treatment duration, assigned prior to
  randomisation, was based on the clinical judgement of the investigator.
  In the EINSTEIN-Extension study (see Table 16), Xarelto was superior to placebo for the
  primary efficacy outcome with a HR of 0.18 [95% CI = 0.09 ȸ 0.39], p <0.001 (i.e. a relative
  risk reduction of 82%). For the principal safety outcome (major bleeding events) there was no
  significant difference between patients treated with Xarelto compared to placebo (p = 0.11).
  Therefore, the pre-defined secondary outcome of net clinical benefit, defined as the composite
  of the primary efficacy outcome and major bleeding events, was reported with a HR of 0.28
  ([95% CI = 0.15 ȸ 0.53], p < 0.001) in favour of Xarelto.

  Table 16: Efficacy and safety results from Phase III EINSTEIN EXTENSION
  (Prevention of recurrent DVT and PE)
                                         1197 patients continued treatment      and   prevention
   Study Population
                                         of recurrent venous thromboembolism
                                               Xarelto 20 mg OD               Placebo
   Treatment Dosage and Duration                6 or 12 months             6 or 12 months
                                                     N=602                     N=594
   Symptomatic recurrent VTE*                       8 (1.3%)                   42 (7.1%)
   Symptomatic recurrent PE                         2 (0.3%)                   13 (2.2%)
   Symptomatic recurrent DVT                        5 (0.8%)                   31 (5.2%)
   Fatal PE/Death where PE cannot
                                                    1 (0.2%)                   1 (0.2%)
   be ruled out
   Major bleeding events                            4 (0.7%)                   0 (0.0%)
   All-cause mortality                             38 (2.2%)                   49 (2.9%)
  *p: < 0.0001 (superiority), HR: 0.185 (0.087 - 0.393)

  In terms of other secondary outcomes, vascular events occurred in 3 patients in the Xarelto
  arm and 4 patients in the placebo group (HR of 0.74 [95% CI = 0.17 ȸ 3.3], p = 0.69), and
  total mortality accounted for 1 (0.2%) vs. 2 (0.3%) of patients in the Xarelto vs. placebo arms,
  respectively.

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  MEDICINE CLASSIFICATION
  PRESCRIPTION ONLY MEDICINE

  DATE OF PREPARATION
  19 November 2015

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